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                                           16                             UNITED STATES DISTRICT COURT
                                           17                            CENTRAL DISTRICT OF CALIFORNIA
                                           18                             WESTERN DIVISION – Los Angeles
                                           19
                                           20 YUGA LABS, INC.,                           Case No.: 2:22-cv-04355-JFW-JEM
                                           21                     Plaintiff,             PLAINTIFF YUGA LABS, INC.’S
                                                                                         APPLICATION TO CONTINUE
                                           22          v.                                TRIAL DATE
                                           23 RYDER RIPPS, JEREMY CAHEN,                 Hearing on Motions in Limine:
                                           24                                                       June 23, 2023
                                                          Defendants.
                                           25                                            Trial Date: July 7, 2023
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                                            1                  GOOD CAUSE FOR REQUESTED CONTINUANCE
                                            2
                                            3           On June 9, 2023, the Court ordered the parties to return to mediation with
                                            4 Magistrate Judge Segal before July 7, 2023. The Parties have been unable to find a
                                            5 date with Magistrate Judge Segal during which they can complete a second mediation
                                            6 prior to the July 7, 2023 trial date. Declaration of Eric Ball In Support of Application
                                            7 to Continue Trial Date (“Ball Decl.”) at ¶ 3. Magistrate Judge Segal’s first available
                                            8 business day for a full-day mediation is July 18, 2023. Id. Magistrate Judge Segal
                                            9 offered two partial days for mediation – June 19 and June 23, 2023 – before July 7,
                                           10 2023. Id. Defendants are not available on June 19 and the parties have a hearing in
                                           11 this matter on June 23. Id. Magistrate Judge Segal also has two other matters on
                                           12 June 23 that would take up her time and make a productive mediation especially
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                                           13 difficult. Id. Magistrate Judge Segal also offered Saturday, July 1, 2023, but Yuga
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                                           14 Labs’ principal with settlement authority is not available on that Saturday. Id. As of
                                           15 today, the Parties have been unable to find an acceptable day before July 7, 2023 to
                                           16 complete a second mediation with Judge Segal. Id.; see also id. ¶ 9. In order to
                                           17 comply with the Court’s order to mediate with Magistrate Judge Segal before trial,
                                           18 and to have a meaningful mediation, Yuga Labs requests a trial continuance.
                                           19           In addition, on June 9, 2023, the Court rescheduled commencement of the
                                           20 pending three-day jury trial in the above-captioned action from June 27, 2023 to
                                           21 July 7, 2023. (Dkt. No. 307.) That same day, June 9, Yuga Labs informed its expert
                                           22 witnesses of the new trial start date. Ball Decl. ¶ 4. Since then, Yuga Labs has been
                                           23 in continuous discussion with its experts regarding the scheduling of their testimony.
                                           24 Id. Yuga Labs’ three experts are not all available to testify during Yuga Labs’ case in
                                           25 a three-day jury trial starting on July 7, 2023. Id. In particular, Yuga Labs’ damages
                                           26 expert, Lauren Kindler, is unavailable to testify on any of the days July 7-11, 2023
                                           27 because of another trial in which she will be testifying. Id. Yuga Labs is informed
                                           28 that Ms. Kindler communicated the conflict of the July 7 trial start date in this matter

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                                            1 to counsel in her other matter, and Ms. Kindler reported back to us, for a second time,
                                            2 that she is unable to accommodate our new trial dates. Id. In addition, Yuga Labs’
                                            3 consumer behavior expert, whose testimony is relevant to the harm Yuga Labs
                                            4 suffered, is unavailable to testify on July 7 or July 10 because he will be out of the
                                            5 country. Id. Yuga Labs has also discussed the new trial start date with its fact
                                            6 witnesses. Ball Decl. ¶ 5. Its former CEO, Nicole Muniz, and a witness on the harm
                                            7 Yuga Labs suffered from the sale of the infringing NFTs is unavailable to testify
                                            8 during a three-day jury trial starting on July 7, 2023 because of pre-planned travel to
                                            9 Europe for a family commitment. Id. Yuga Labs would suffer irreparable prejudice
                                           10 if the jury trial proceeded as currently scheduled in the absence of its damages expert,
                                           11 its consumer behavior expert, and one of its fact witnesses on the harm Yuga Labs
                                           12 suffered. Therefore, Yuga Labs respectfully requests a continuance of the July 7,
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                                           13 2023 trial date.
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                                           14           Yuga Labs’ witnesses were only able to identify one three-day block in the next
                                           15 several months where each witness had some availability to testify. Ball Decl. ¶ 6.
                                           16 Given the challenges with scheduling Yuga Labs’ witnesses for a three-day jury trial
                                           17 and with the hope of securing an expedient resolution to this case, Yuga Labs is
                                           18 withdrawing all legal remedies and will proceed to trial solely on its prayer for
                                           19 equitable remedies as to the remaining active claims – Claim 1 and Claim 3.
                                           20           Based on the above, good cause exists to continue the current trial date and
                                           21 schedule a court trial rather than a jury trial. Yuga Labs requests that the Court set a
                                           22 court trial for resolution of the remaining equitable issues in the case. Yuga Labs has
                                           23 confirmed that its witnesses are all available to testify on the following dates:
                                           24           •      July 31-Aug. 3, 2023;
                                           25           •      Sept. 22, 2023; and
                                           26           •      Oct. 5-6, 2023.
                                           27 Ball. Decl. ¶ 7.
                                           28           This is the first request to continue the trial date. Ball Decl. ¶ 8. Yuga Labs is

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                                            1 making this application at the earliest possible moment once the need arose. See,
                                            2 e.g., Ball Decl. ¶ 7.      Lead counsel met and conferred regarding Yuga Labs’
                                            3 Application to Continue Trial Date, and Yuga Labs understands that Defendants take
                                            4 no position on the substance of the request at this time. Id. ¶ 9.
                                            5           Given the further narrowing of its case, Yuga Labs believes that a one-day
                                            6 court trial will be sufficient to resolve the remaining issues of the equitable relief to
                                            7 which it is entitled for Claims 1 and 3.
                                            8
                                            9 Dated: June 15, 2023                       FENWICK & WEST LLP
                                           10
                                           11                                            By: /s/ Eric Ball
                                                                                             Eric Ball
                                           12                                            Attorneys for Plaintiff
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                                                                                         YUGA LABS, INC.
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